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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

 UNITED STATES OF AMERICA and §
 STATE OF TEXAS,               §
                               §
                   Plaintiffs, §                    CIVIL ACTION NO. 4:18-CV-3368
 v.                            §                    JUDGE EWING WERLEIN, JR.
                               §
 CITY OF HOUSTON,              §
                               §
                   Defendant.  §

              Bayou City Waterkeeper’s Opposed Motion to Intervene as Plaintiff

       Bayou City Waterkeeper moves to intervene in this action under FRCP(a)(1) and the Clean

Water Act, 33 U.S.C. § 1365(b)(1)(B), which grants citizens like Bayou City Waterkeeper an

unconditional right to intervene in governmental enforcement actions like this one. Bayou City

Waterkeeper alternatively moves to intervene as of right under FRCP(a)(2) and for permissive

intervention under FRCP 24(b). Bayou City Waterkeeper conferred with counsel for all other

parties. The plaintiffs, the United States of America and the State of Texas, do not oppose Bayou

City Waterkeeper’s request to intervene as of right under FRCP 24(a)(1) and 33 U.S.C. §

1365(b)(1)(B). The plaintiffs do not consent to intervention on any other basis. In contrast, the

defendant City of Houston opposes intervention on all grounds. The Court should grant Bayou

City Waterkeeper’s motion.

                                    Summary of Facts & Argument

       On July 23, 2018, Bayou City Waterkeeper served the City of Houston with a 60-day notice

of intent to sue under the Clean Water Act for more than 9,300 unpermitted discharges of untreated

sewage from the City’s wastewater treatment and collection systems into and adjacent to

waterways, riparian areas, and micro-watershed around the Houston area. Fifty-nine days later, the



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United States of America, through the Administrator of the U.S. Environmental Protection Agency

(“EPA”), and the State of Texas sued the City for an unstated number of unpermitted discharges

from the City’s wastewater treatment plants into Houston-area waters and referenced Bayou City

Waterkeeper’s notice of intent to sue. (Docs. 1, 2 at 2.) The EPA and State did not notify Bayou

City Waterkeeper of their lawsuit, and the next day, Bayou City Waterkeeper filed a citizen suit

based on the violations identified in its notice of intent to sue. See Complaint, Bayou City

Waterkeeper v. City of Houston, No. 4:18-CV-3369 (S.D. Tex. Sep. 21, 2018), ECF No. 1.

       Bayou City Waterkeeper seeks to intervene in this litigation to assert its interests in

protecting the health of the Lower Galveston Bay watershed. Because the City’s discharges of

untreated wastewater distinctly and adversely affect its interests, Bayou City Waterkeeper’s

intervention seeks to ensure that any settlement process adequately represents and protects them.

       As explained in the memorandum in support of this motion and supporting declaration and

exhibits, Bayou City Waterkeeper has the right to intervene under:

           •   FRCP 24(a)(1), which allows intervention by anyone “given an unconditional right
               to intervene by a federal statute,” based on the unconditional right given to citizens
               like Bayou City Waterkeeper by the Clean Water Act to intervene in governmental
               enforcement actions like this one. 33 U.S.C. § 1365(b)(1)(B). The EPA and State
               consent to Bayou City Waterkeeper’s intervention on this basis; only the City
               opposes Bayou City Waterkeeper’s intervention on this basis.

           •   FRCP 24(a)(2) because (1) its motion is timely, (2) Bayou City Waterkeeper has
               an interest in this litigation evidenced by its investigation of the City’s permit
               violations culminating in a notice of intent to sue and citizen suit, (3) this litigation
               may impair or impede Bayou City Waterkeeper’s interests, and (4) the existing
               parties do not adequately represent Bayou City Waterkeeper’s interests. See
               Entergy Gulf States La. v. EPA, 817 F.3d 198, 203 (5th Cir. 2016). The EPA, State,
               and City object to intervention on this basis.

           •   FRCP 24(b) because it has a claim or defense that shares common questions of law
               and fact with those raised in this case. The EPA, State, and City object to
               intervention on this basis.

       A proposed intervention complaint is attached to this filing as Exhibit 1.


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 Date: October 3, 2018

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                                           Certificate of Service

       I certify that on October 3, 2018, I electronically filed this Bayou City Waterkeeper’s

Opposed Motion to Intervene as Plaintiff and all attachments using the CM/ECF system, which

automatically sends notice and a copy of the filing to all counsel of record.

                                                      /s/ David Frederick
                                                      David Frederick

                                                      Attorney for the Proposed Plaintiff-
                                                      Intervenor Bayou City Waterkeeper




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                                         Certificate of Conference

      I conferred with counsel for the parties in this matter on September 24, 26, and 27, and
October 1 and 2, 2018. Counsel for each of the parties advised as follows:

        The plaintiff United States of America and the plaintiff State of Texas do not oppose Bayou
City Waterkeeper’s right to intervene under 33 U.S.C. § 1365(b)(1)(B) and FRCP 24(a)(1). The
plaintiffs oppose intervention on any other ground.

        The defendant City of Houston opposes Bayou City Waterkeeper’s right to intervene under
33 U.S.C. § 1365(b)(1)(B) and FRCP 24(a)(1) unless Bayou City Waterkeeper first dismisses its
citizen suit, see Complaint, No. 4:18-cv-03369 (S.D. Tex., filed Sep. 21, 2018), ECF No. 1, and
agrees not to contest the stay granted by this Court on September 24, 2018. (Doc. 8.) The City also
opposes Bayou City Waterkeeper’s request to intervene on any other basis.

        Although not relevant to this motion, all parties further advise that they are opposed to any
future requests by Bayou City Waterkeeper to modify the stay currently in place in this case.

                                                      /s/ Kristen Schlemmer
                                                      Kristen Schlemmer

                                                      Attorney for the Proposed Plaintiff-
                                                      Intervenor Bayou City Waterkeeper




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